Employee                                                                Date of                                        Date
                                                                                                                                               EXHIBIT 10
           Name                      Position / Title                              Gender   Age   Race / Ethnicity               Signed
  No.                                                                     Hire                                       Offered
 32421     Caren Sager-Steinhauser   Manager, Employee Services        2/22/2005   Female   63    White              4/6/2018   4/9/2018    Male:     21   80.8%
 24349     Christopher Keinle        Director of Sales                 12/1/2009   Male     43    White              4/6/2018   4/23/2018   Female:    5   19.2%
 32423     Gordon Sandmeier          Director of Sales                 1/10/2005   Male     52    White              4/6/2018    4/9/2018
 32282     James Malone              Sales Manager                     1/17/2005   Male     49    White              4/6/2018    6/1/2018
 44997     Jimmy Crespo              TAS Sales Manager                  4/1/2016   Male     48    Hispanic/Latino    4/6/2018   4/18/2018
 32545     Jonathan Corey            Sales Manager                                 Male     44                       4/6/2018   5/24/2018
           Kenneth Thomasula         Visual Merchandising Specialist               Male     63    White              4/6/2018   4/10/2018
           Lawrence Callahan         Warehouse Manager, Mid                        Male     61    White              4/6/2018   4/9/2018
           Lawrence Lospinuso        Warehouse Manager, Mid (NJ)                   Male                              4/6/2018   4/10/2018
           Linda Linbrunner          Warehouse Supervisor, Night                   Female                            4/6/2018   4/13/2018
           Lois Grumet               Channel Manager                               Female   62    White              4/6/2018   5/17/2018
 49178     Lowell Supran             Sales Manager                                 Male     53    Undisclosed        4/6/2018   4/20/2018
 32468     Maria Suarez              WMI Administrator                             Female   49                       4/6/2018
           Matthew Rodwick           Sales Manager                                 Male                              4/6/2018   4/9/2018
           Orlando Medina            Premium Spirits Specialist                    Male     54    Hispanic/Latino    4/6/2018   4/23/2018
           Peter Choy                Sales Manager                                 Male                              4/6/2018   4/9/2018
           R. Michael Kimber         Director of Sales                             Male     51    White              4/6/2018   4/16/2018
 18785     Richard Shipman           Fine Wine Specialist                          Male     54    White              4/6/2018   4/30/2018
           Sal Ferraro               router                                        Male                              4/6/2018   4/10/2018
           Steven Smith              Director Merchandising                        Male     67    White              4/6/2018   4/13/2018
 15666     Tara Stevens              Administrative Assistant                      Female   44    White              4/6/2018   4/25/2018
           Thomas Labella            Channel Manager                               Male     65    White              4/6/2018   4/16/2018
 32298     Todd May                  Sales Manager                                 Male     45                       4/6/2018   5/29/2018
 24014     Vittorio Lanni            Director of Sales                             Male     51    White              4/6/2018   4/11/2018
           William Regan             Sales Manager                                 Male                              4/6/2018   4/23/2018
           Walter Berkstresser       Key Account Specialist Casino                 Male     60    White              4/6/2018   4/11/2018
                                                                                                                                                                   Case 2:19-cv-07271-GRB-LGD Document 39-12 Filed 01/03/23 Page 1 of 1 PageID #: 300
